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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

 

MISSOULA DIVISION
UNITED STATES OF AMERICA,
CR 21-26-M-DWM

Plaintiff,

vs. FINDINGS AND
RECOMMENDATION

GEORGE THOMAS WALKER, CONCERNING PLEA

Defendant.

 

The Defendant, by consent, has appeared before me under Fed. R. Crim. P.
11 and has entered a plea of guilty to one count of possession with the intent to
distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1) (Count II) as set
forth in the Indictment. Defendant further agrees to the forfeiture allegation in the
Indictment. In exchange for Defendant’s plea, the United States has agreed to
dismiss Counts I, III, and IV of the Indictment.

After examining the Defendant under oath, I have made the following
determinations:

1. That the Defendant is fully competent and capable of entering an
informed and voluntary plea to the criminal offense charged against him, and an

informed and voluntary admission to the allegation of forfeiture;
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2. That the Defendant is aware of the nature of the charge against him and
the consequences of pleading guilty to the charge;

3. That the Defendant understands the allegation of forfeiture and the
consequences of admitting to the allegation;

4. That the Defendant fully understands his constitutional rights, and the
extent to which he is waiving those rights by pleading guilty to the criminal
offense charged against him, and admitting to the allegation of forfeiture;

5. That both his plea of guilty to the criminal offense charged against him
and his admission to the allegation of forfeiture are knowingly and voluntarily
entered, and are both supported by independent factual grounds sufficient to prove
each of the essential elements of the criminal offense charged and the legal basis
for the forfeiture.

The Court further concludes that the Defendant had adequate time to review
the Plea Agreement with counsel, that he fully understands each and every
provision of the agreement and that all of the statements in the Plea Agreement are
true. Therefore, I recommend that the Defendant be adjudged guilty of Count II of
the Indictment, that sentence be imposed, and that the agreed forfeiture be imposed
against Defendant. I further recommend that Counts I, III, and IV of the Indictment

be dismissed.
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This report is forwarded with the recommendation that the Court defer
a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

DATED this 7" day of October, 2021.

Sy pKrvroem) Dy hay
Kathleen L. DeSoto
United States Magistrate Judge
